                Case 24-10418-CTG               Doc 318        Filed 04/30/24         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :   Chapter 11
In re:                                                    :
                                                          :   Case No. 24-10418 (CTG)
JOANN INC., et al.,                                       :
                                                          :   (Jointly Administered)
                    Debtors. 1                            :
                                                          :   Related Dkt. Nos.: 16, 288 & 303
--------------------------------------------------------- x

                NOTICE OF (I) OCCURRENCE OF EFFECTIVE
             DATE AND (II) ENTRY OF ORDER (A) APPROVING THE
      DISCLOSURE STATEMENT AND (B) CONFIRMING THE FIRST AMENDED
    PREPACKAGED JOINT PLAN OF REORGANIZATION OF JOANN INC. AND ITS
      DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

       PLEASE TAKE NOTICE that on April 25, 2024, the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) entered an order [Docket No. 303]
(the “Combined Order”) confirming the First Amended Prepackaged Joint Plan of
Reorganization of Joann Inc. and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
[Docket No. 288] (together with all exhibits and supplements thereto, and as may be amended,
modified, or supplemented from time to time, the “Plan”) 2 and approving the Disclosure Statement
for Prepackaged Joint Plan of Reorganization of JOANN Inc. and Its Debtor Affiliates Under
Chapter 11 of the Bankruptcy Code [Docket No. 16] (the “Disclosure Statement”) of the above-
captioned debtors and debtors-in-possession (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that the Effective Date occurred on April 30,
2024.

        PLEASE TAKE FURTHER NOTICE that the Combined Order, the Plan, and copies of
all documents filed in the Chapter 11 Cases may be obtained by (a) calling the Debtors’ solicitation
Agent, Kroll Restructuring Administration LLC (the “Solicitation Agent” or “Kroll”), at (844)
488-7837 (Toll-Free) (US/Canada) or (646) 777-2384 (International); (b) emailing the Solicitation
Agent at joanninfo@ra.kroll.com; or (c) visiting the Debtors’ restructuring website at


1
    The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
    JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions LLC
    (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
    JOANN Ditto Holdings Inc. (9652); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
    is 5555 Darrow Road, Hudson, OH 44236.
2
    Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Plan.



US-DOCS\150291611
               Case 24-10418-CTG        Doc 318     Filed 04/30/24     Page 2 of 3




https://cases.ra.kroll.com/JOANN. You may also obtain copies of any pleadings filed in the
Chapter 11 Cases for a fee via PACER at: http://www.deb.uscourts.gov.

       PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has approved certain
discharge, release, exculpation, injunction, and related provisions in Article IX of the Plan.

        PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on the
Debtors, the Reorganized Debtors, and any Holder of a Claim or Interest and such Holder’s
respective predecessors, successors, and assigns, whether or not the Claim or the Interest of such
Holder is Impaired under the Plan, and whether or not such Holder voted to accept the Plan.

       PLEASE TAKE FURTHER NOTICE that the Plan and the Combined Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and the
Combined Order in their entirety.



                          [Remainder of page left intentionally blank]




US-DOCS\150291611
               Case 24-10418-CTG   Doc 318     Filed 04/30/24   Page 3 of 3




 Dated: April 30, 2024

  /s/ Shane M. Reil

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                           Counsel for Debtors and Debtors in Possession




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